                   Case 6:22-cv-06433-EAW                   Document 14           Filed 02/26/24         Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western    District of        NY


                 DOUGLAS D. WILLIAMS,                                )
                             Plaintiff                               )
                                v.                                   )         Civil Action No.      22-cv-6433-EAW
               DANIEL J. GRANVILLE et al.,                           )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

    other:     The complaint is dismissed.

                                                                                                                                     .

This action was (check one):

   tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         without a jury and the above decision
was reached.

    decided by Judge            Elizabeth A. Wolford                                           on a motion for n/a
dismissing complaint.
                                                                                                                                     .

Date:             02/26/2024                                                  CLERK OF COURT



                                                                                          Signature of Clerk or Deputy Clerk
